Case 2:21-cv-00308-JRG Document 96 Filed 08/11/22 Page 1 of 4 PageID #: 2461




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 COLLISION COMMUNICATIONS, INC.,                §
                                                §
 v.                                             §           CASE NO. 2:21-CV-00308-JRG
                                                §                 (LEAD CASE)
 NOKIA SOLUTIONS AND NETWORKS                   §
 OY, NOKIA OF AMERICA                           §
 CORPORATION.                                   §
                                                §
 COLLISION COMMUNICATIONS, INC.,
                                                §
 v.                                             §           CASE NO. 2:21-CV-00327-JRG
                                                §                 (MEMBER CASE)
 TELEFONAKTIEBOLAGET LM                         §
 ERICSSON, ERICSSON, INC.                       §
                                            ORDER
       Before the Court is Plaintiff Collision Communications, Inc.’s (“Collision”) Motion to

Compel Nokia Defendants’ Production of Certain Marketing Documents (the “Motion”). (Dkt.

No. 89). In the Motion, Collision asks the Court to compel Defendants Nokia Solutions and

Networks OY and Nokia of America Corporation (collectively, “Nokia”) to produce business and

marketing documents related to the accused products—rather than simply the accused

functionalities. (Id.). Having considered the Motion and the subsequent briefing, the Court is of

the opinion that it should be DENIED.

I.     BACKGROUND
       On July 21, 2022, Collision filed the instant Motion seeking production of all Nokia’s

marketing documents related to the accused products, including those that do not reference the

accused features at issue. (Dkt. No. 89). Specifically, Collision seeks an order compelling the

following documentation from Nokia:
Case 2:21-cv-00308-JRG Document 96 Filed 08/11/22 Page 2 of 4 PageID #: 2462




           •   Documents related to any market study or analysis and all strategic or long-range

               product or marketing plans, performed by Nokia or any Third Party, related to the

               Accused Products. (Request No. 52).

           •   Documents reflecting analyses, reports, or studies concerning customer preferences

               or demand for the Accused Functionalities or Accused Products. (Request No. 54).

           •   Documents reflecting internal or external market studies concerning the Accused

               Functionalities or Accused Products. (Request No. 55).

           •   Documents sufficient to show Nokia’s business, strategic, financial, and/or

               marketing plans, forecasts, analyses, or reports related to Nokia’s sales or leases of

               Accused Products in the United States. (Request No. 56).

           •   Documents sufficient to show customer retention analysis and plans related to

               Nokia’s sales or leases of Accused Products in the United States or Your services

               that support the same. (Request No. 57).

           •   Documents related to the advertising, promotion, or marketing of any Accused

               Product or the Accused Functionalities. (Request No. 16).

(Dkt. No. 89 at 1).

       Nokia represents that it has produced marketing and business planning documents relating

to the accused functionality at issue. (Dkt. No. 94 at 1). Collision does not appear to disagree.

(See Dkt. No. 89 at 1). However, Collision contends that Nokia has improperly limited its

responses to only the accused functionality rather than the accused products as a whole. This is

the basis for the Motion.




                                                 2
Case 2:21-cv-00308-JRG Document 96 Filed 08/11/22 Page 3 of 4 PageID #: 2463




II.    DISCUSSION
       In support of its Motion, Collision argues that marketing documents related to the accused

products, while they may lack any mention of the accused functionalities, are relevant to

Collision’s indirect infringement and damages theories. (Dkt. No. 89). Concerning indirect

infringement, Collision argues that such marketing documents reflect Nokia’s marketing, sale,

advertisement, and promotion of the accused products to its customers. (Id. at 3). With respect to

damages, Collision contends that such materials are relevant to several of the Georgia Pacific

factors and are necessary for Collision’s expert to calculate a reasonable royalty rate. (Id. at 3, 4,

5).

       Nokia responds that documents unrelated to the accused features are simply irrelevant.

(Dkt. No. 94 at 3–4). Nokia disagrees that marketing materials which do not discuss the accused

features have any bearing on indirect infringement. (Dkt. No. 94 at 3). Further, Nokia argues that

the burden of collecting such, including market studies, customer preferences, business plans,

marketing documents, customer retention analyses, and advertising documents that relate to the

accused products, is extremely high. (Id. at 5). With respect to Collision’s reasonable royalty

argument, Nokia relies on this Court’s prior decision in SEVEN Networks. SEVEN Networks, LLC

v. Google LLC, No. 2:17-cv-442, Dkt. No. 210 (E.D. Tex. June 29, 2018). (Id. at 6). Nokia argues

that in SEVEN Networks, this Court denied a request for documents reflecting advertisement

revenue of an accused product when the request was not tailored to documents related to the

accused functionality.

       The Court is not persuaded that the probative value of the information sought outweighs

the burden which would be imposed on Nokia. Collision’s discovery requests are very broad and

seek large swaths of information related to the accused products with little attempt to limit the

requested information to the relevant issues in this case. Had Collision tailored the requests even

                                                  3
Case 2:21-cv-00308-JRG Document 96 Filed 08/11/22 Page 4 of 4 PageID #: 2464




slightly, the Court may have reached a different result. Collision particularly fails to demonstrate

how the requested documents—which Collision admits are unrelated to the accused features—are

probative of Collision’s claim of indirect infringement. The Court also finds Collision’s reasonable

royalty rate arguments unpersuasive. However, none of this is to say that the accused functionality
    .
must be explicitly referenced in any document for it to be relevant and subject to production.

Rather, the Court has concluded, based on the specific facts of this particular case, that Collision’s

arguments asking this Court to compel Nokia to produce large quantities of information based on

broadly worded requests near the close of fact discovery should not be granted.1

III.     CONCLUSION
         For the reasons stated herein, Collision’s Motion to Compel is DENIED.

         So ORDERED and SIGNED this 10th day of August, 2022.




                                                                       ____________________________________
                                                                       RODNEY GILSTRAP
                                                                       UNITED STATES DISTRICT JUDGE




1
 The Court recognizes that relevance is, generally speaking, a relatively low bar, and had Collision tailored their broad
discovery requests, even modestly, a different result might have been achieved.

                                                           4
